           Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                             )
UNITED STATES OF AMERICA                     )
                                             )   Criminal No.: 19-10117-IT
                v.                           )
                                             )
(1) GREGORY ABBOTT,                          )
(2) MARCIA ABBOTT,                           )
                                             )
                        Defendants           )

           GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

                                          Introduction

       The government respectfully submits this memorandum in connection with the sentencing

of defendants Gregory and Marcia Abbott.

       The Abbotts paid $50,000 to have a corrupt proctor correct their daughter’s answers on the

ACT exam, and an additional $75,000 to have the same proctor correct their daughter’s answers

on two SAT II subject tests. They pursued the fraud with the specific purpose of improving their

daughter’s prospects of admission to Duke University, Marcia Abbott’s alma mater.

       The Abbotts engaged in the cheating scheme twice, with full insight into how it worked.

Marcia Abbott requested that Mark Riddell, the corrupt proctor on the first test, serve as the

designated cheater for the second set of tests – underscoring the Abbotts’ commitment to the fraud.

For their crimes, the Abbotts should each be sentenced to eight months in prison, a fine of $40,000,

and 12 months of supervised release. 1




       1
         The government’s recommended sentence is above the Guidelines range as calculated
by the Probation Department.
            Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 2 of 7



       I.      The Abbotts Eagerly Engaged in the Exam Scheme Twice

        With a PSAT score so low that a significant increase on the SAT would have been likely

to raise red flags, the Abbotts agreed with co-conspirator William “Rick” Singer to cheat on their

daughter’s ACT exam, instead of the SAT.

       To facilitate the scam, the Abbotts exploited the fact that their daughter had Lyme disease

and was taking medication for that condition to petition the ACT for extended time. They arranged

for her to take the ACT at the West Hollywood Test Center Singer controlled, despite the fact that

it was nearly 1,000 miles from their home in Aspen, Colorado, where Marcia Abbott lived, and

nearly 3,000 miles from their other home in New York City, where Gregory Abbott lived. When

their daughter’s high school counselor inquired about where she would take the ACT, Marcia

Abbott asked Singer, “What do I do?”

       Two days before his daughter’s exam, Gregory Abbott transferred $50,000 from the Abbott

Family Foundation to Singer’s sham charity, the Key World Wide Foundation (“KWF”). Singer

used the money to bribe corrupt test administrator Igor Dvorskiy, and to pay Riddell for serving

as the corrupt proctor. He also kept some of the money for himself. The next day, Riddell flew

from his home in Tampa, Florida to Los Angeles. Riddell corrected the answers on the exam and

secured a near-perfect score of 35 out of a possible 36. The Abbotts’ daughter, in turn, submitted

the fraudulent score as part of her applications to various colleges.

       Pleased with a score in the 99th percentile, the Abbotts made plans to cheat on their

daughter’s SAT II subject tests in math and literature. A little more than a month after the ACT

fraud, Marcia Abbott called the Educational Testing Service (“ETS”), which administers the SATs,

and asked if her daughter could take them at a location other than her home high school.

Approximately one week later, Marcia Abbott called Singer.              During the call, which was



                                                  2
            Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 3 of 7



intercepted pursuant to a Court-authorized wiretap, Marcia Abbott said, “[Y]ou told me that you

had a subject tester in California. Should she go out there?” Singer replied, “Greg would have to

be willing to pay for it.” Marcia Abbott responded, “Yeah, well he can donate, I mean, whatever

the donations are.”

         On August 3, 2018, Marcia Abbott called Singer to ask how cheating on the subject tests

would work. The following is an excerpt from the call.

MARCIA ABBOTT              What is the situation with subject tests? Is it basically the same that
                           happened with the SATs?

Singer                     Yeah, it’s a little more a little more expensive because now you gotta
                           have somebody which, you gotta make sure that you do well on both of
                           those areas. It’s not like the SATs. They’re much harder.

MARCIA ABBOTT              Yeah, well they’re very specialized, and for her she was gonna take
                           Math II and English Lit.

Singer                     Right, so if we have somebody help her, I have to get . . . I have to figure
                           out who that’s gonna be, that’s gonna be able to take care of both of
                           those

MARCIA ABBOTT              All right, she loves the guy, Mark, who took the SATs, she said. She
                           said she started having heart palpitations but she said, “He was so sweet,
                           he let me walk around the hallway.” She said, “Can’t I take my SAT
                           subjects with him?” And I said, “Nah, I don’t think so. I mean, I think,
                           you know, you just, it’s whole different area and that was ’cause we
                           happened to be out in California seeing schools. So you know we’re
                           gonna take them here.” So, alright, so there’s no way for [August] 27th.
                           Then I guess we should take them here down [in the Aspen area] on the
                           27th and let’s see how she does.

Singer                     Absolutely, absolutely.

MARCIA ABBOTT              And what would be, the donation be for, if you found someone for
                           October? Because the other one was, what, $50,000?

Singer                     It was, I think it was 50. It will be at least 75.

MARCIA ABBOTT              Yeah, that’s fine.




                                                   3
          Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 4 of 7



       The Abbotts’ daughter took the SAT II subject tests in Aspen in late August, without

assistance, and performed poorly. In a call on September 4, 2018, Marcia Abbott told Singer that

she wanted to proceed with the cheating scheme because her daughter did not think she had done

well. She confirmed that the cost to have Riddell take the tests would be $75,000. Approximately

one week later, the Abbott Family Foundation made a purported donation of $75,000 to KWF.

       In a call on September 28, 2018, Singer – who by this point was cooperating with the

government’s investigation – told Marcia Abbott that they would aim for a score of “750 and

above.” Marcia Abbott responded: “That’s fabulous.”

       Marcia Abbott accompanied her daughter to the West Hollywood Test Center for the tests

on October 6, 2018. Less than two weeks later, Singer discussed the tests in a call with Gregory

Abbott. Gregory Abbott asked how his daughter “did on her own.” Singer responded that she had

scored in the mid-600s on her own.

       Four days later, Marcia Abbott texted Singer that her daughter had not received her test

results, adding that she “[w]as scared that if [her daughter] did way better this time [compared to

when she took them on her own] that they’d flag her!”

       On or about November 2, 2018, Marcia Abbott called the College Board, which develops

and administers the SATs with ETS, and threatened legal action because her daughter’s test scores

had not been released. Call center notes reflect the following:

       Customer called in to follow up. Mother is extremely adamant. They [sic] filing a
       Legal Complaint. She is Soloist in Metropolitan Opera in New York City. The
       student has a chance to be offered scholarship award but she must apply early and
       the score is only missing on that application. They want to know reason for the
       scores being delayed and be contacted as soon as possible.




                                                4
            Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 5 of 7



         In a call with Singer the following day, Gregory Abbott asked Singer if the Abbotts “should

be worried” that their daughter’s scores had not yet been released. The following is an excerpt

from the call, which was consensually recorded.

GREGORY ABBOTT             Have you ever had a case where somebody was flagged or somebody--

Singer                     Yes.

GREGORY ABBOTT             What did they say?

Singer                     Yes.

GREGORY ABBOTT             What happened?

Singer                     Essentially it takes several more weeks before they’ll release the score.
                           What they would do is go back to the test administrator and ask them if
                           everything was okay. Of course, our test administrator, Igor, who you
                           guys obviously paid the money for, will say, “Everything went fine, I
                           sent in everything. We did the score sheet, the whole thing.”

GREGORY ABBOTT             Yeah.

Singer                     That would be the only thing that would come back.

GREGORY ABBOTT             So there should be nothing -- there -- should -- we -- we shouldn’t worry.

Singer                     No. It’s just that these guys [at the College Board] take forever and
                           don’t communicate effectively.

GREGORY ABBOTT             You’re – that I know. Yeah, yeah. I just -- I -- you know, you have
                           experience at this and when I first heard it I -- I -- I got a little bit
                           nervous, as you can understand.

         Ultimately, the Abbotts’ daughter received a perfect score of 800 on the math subject test

and 710 on the literature subject test that Riddell corrected.




                                                  5
             Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 6 of 7



       II.      The Abbotts’ Repeated Engagement in the Cheating Scheme
                Merits a Prison Sentence of 8 months

       The Abbotts are the only defendants before the Court who pursued the exam cheating

scheme more than once. 3 They intended to use the fraudulent scores to facilitate their daughter’s

admission to Duke University in place of a deserving student.

       Although they apparently kept the scheme a secret from their daughter, the Abbotts were

both fully complicit in it. Marcia Abbott made sure she understood the scheme’s details, flew to

California twice to have her daughter sit for the tests at Singer’s corrupt test center, and even

suggested to Singe that he use Riddell as a proctor for the second fraud because her daughter liked

him. Gregory Abbott paid for the cheating from the family’s charitable foundation and asked

Singer how his daughter would have scored in the absence of fraud.

       Neither of the Abbotts exhibited second thoughts or regret about the scheme, even as they

actively pursued it over nearly eight months. Marcia Abbott actually threatened to sue the College

Board if the fraudulently obtained scores were not promptly released. And although Gregory

Abbott expressed “nervous[ness]” when the exam scores were delayed, he wasn’t remorseful about

having cheated. He was simply afraid of getting caught. Even so, the Abbotts never considered

backing out or cancelling the fraudulent scores.

       Nor did the Abbotts succumb to pressure from Singer to commit fraud. It was Marcia

Abbott who approached Singer about cheating on the subject tests – not the other way around.

And it was Marcia Abbott who, without prompting, made an “adamant” and threatening call to the

College Board.




       3
        As the government has previously noted, defendant Agustin Huneeus pursued both the
exam cheating scheme and the recruitment scheme.
                                                   6
           Case 1:19-cr-10117-IT Document 501 Filed 10/01/19 Page 7 of 7



       For the Abbotts, cheating was an acceptable and desirable way to get their daughter into

Duke University. They readily paid $125,000 for the fraud and were careful to use “charitable”

funds to gain a tax benefit in the process. Prison is the only answer for such entitlement and

criminality.

                                         CONCLUSION

       For the foregoing reasons, the Abbotts should each be sentenced to 8 months in prison, one

year of supervised release, and a fine of $40,000.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney


                                             By:      /s/ Eric S. Rosen
                                                     ERIC S. ROSEN
                                                     JUSTIN D. O’CONNELL
                                                     LESLIE A. WRIGHT
                                                     KRISTEN A. KEARNEY
                                                     Assistant United States Attorneys

Date: October 1, 2019




                                                 7
